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uNlTED sTATEs oF AMEFiicA, we or ir~!. whereas
P|aintitf
vs.
cn. No. 04-20265»5
BaiAN BELL,
Defendant.

 

ORDER ON CONT|NUANCE A|\|D SPEC|FYENG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 25, 2005. At that time, counsel for the
defendant requested a continuance of the Nlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a [§M
date of Tuesdav. Mav 31, 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of the Federal
Building, |Vlemphis, TN.

The period from l\/|ay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) becausethe ends otjustice served in allowing foradditional time
to prepare outweigh the need for a speedy tria|.

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lT is so oRDERED this 2<- day er Aprii, 2005.

 

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UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 51 in
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Honorable J. Breen
US DISTRICT COURT

